       Case:19-18361-EEB Doc#:17 Filed:01/15/20                 Entered:01/15/20 22:33:50 Page1 of 4
                                      United States Bankruptcy Court
                                          District of Colorado
In re:                                                                                  Case No. 19-18361-EEB
Lauren Margaret-McLenn Gaitan                                                           Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 1082-1           User: admin                  Page 1 of 2                   Date Rcvd: Jan 13, 2020
                               Form ID: 177                 Total Noticed: 40


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 15, 2020.
db             +Lauren Margaret-McLennan Gaitan,     11839 Ridge Pkwy,    Unit 1312,    Broomfield, CO 80021-6512
18577488       +Account Management Service,    6101 Ball Rd Ste 207,     Cypress, CA 90630-3965
18577492       +CMRE Financial Services, Inc,     3075 E. Imperial Highway Suite 200,     Brea, CA 92821-6753
18577495       +Centura Health,    PO Box 561538,    Denver, CO 80256-0001
18577496       +Collection Consultants,    6100 San Fernando Rd Ste 211,     Glendale, CA 91201-2280
18577500        Community Medical Assoc of Bch,     5450 Western Ave Ste B,    Boulder, CO 80301-2709
18577501       +Community Medical Association of Boulder Comm,      5450 Western Ave Ste B,
                 Boulder, CO 80301-2709
18577504       +Dr Rosenberg,    3400 Lomita Blvd #400,    Torrance, CA 90505-4927
18577505        GI Pathology,    PO Box 1000 Dept 461,    Memphis, TN 38148-0001
18577510        Lab Corp,   PO Box 2240,    Burlington, NC 27216-2240
18577511       +Laboratory Corporation of America,     PO Box 2240,    Burlington, NC 27216-2240
18577512       +Midland Credit Management,    350 Camino de la Reina,     Ste 100,    San Diego, CA 92108-3007
18577513       +Midland Funding,    320 E Big Beaver Rd Ste,    Troy, MI 48083-1271
18577514       +Progressive Management,    1521 W Cameron Ave,    First Floor,     West Covina, CA 91790-2738
18577515        Rocky Mtn Gastro Assoc,    c/o LabCorp,    PO Box 2240,    Burlington, NC 27216-2240
18577516       +Sce,   2131 Walnut Grove Ave,     Rosemead, CA 91770-3769
18577518        Sequenom Center for Molecular Medicine,     Dept LA 24114,    Pasadena, CA 91185-4114
18577519       +Trojan Professional Services,     4410 Cerritos Ave,    Los Alamitos, CA 90720-2549
18577520       +US Dept Of Education,    PO Box 7860,    Madison, WI 53707-7860
18577521      #+Universal Accounts,    690 E Green St,    Pasadena, CA 91101-2197
18577522        University of Colorado Medicine,     Dept 1059,   Denver, CO 80256-1059
18577524       +Westside Womens Care,    7950 Kipling St Ste 201,     Arvada, CO 80005-3926

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QHSENDER.COM Jan 14 2020 06:03:00       Harvey Sender,    600 17th St.,    Ste. 2800S,
                 Denver, CO 80202-5428
18577489       +EDI: AMEREXPR.COM Jan 14 2020 06:03:00       American Express,    PO Box 981535,
                 El Paso, TX 79998-1535
18577490       +EDI: AMEREXPR.COM Jan 14 2020 06:03:00       Amex,   PO Box 297871,
                 Fort Lauderdale, FL 33329-7871
18577491       +E-mail/Text: correspondence@revsolve.com Jan 14 2020 01:10:28
                 Arvada Emergency & Urgent Care,    c/o RevSolve Inc,    1395 N Hayden Rd,
                 Scottsdale, AZ 85257-3769
18637297       +EDI: ATLASACQU.COM Jan 14 2020 06:03:00       Atlas Acquisitions LLC,    294 Union St.,
                 Hackensack, NJ 07601-4303
18577494        EDI: CAPITALONE.COM Jan 14 2020 06:03:00       Capital One Bank Usa N,    15000 Capital One Dr,
                 Richmond, VA 23238
18577493        EDI: CAPITALONE.COM Jan 14 2020 06:03:00       Capital One,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
18577497        EDI: CODEPREV.COM Jan 14 2020 06:04:00       Colorado Department of Revenue,
                 Denver, CO 80261-0008
18577498        EDI: CCS.COM Jan 14 2020 06:03:00      Comcast,    c/o CCS,    PO Box 55126,
                 Boston, MA 02205-5126
18577499        EDI: WFNNB.COM Jan 14 2020 06:03:00       Comenity Bank / Torrid,    PO Box 182125,
                 Columbus, OH 43218-2125
18577502       +EDI: CCS.COM Jan 14 2020 06:03:00      Credit Collection Services,     725 Canton St,
                 Norwood, MA 02062-2679
18577503        EDI: NAVIENTFKASMDOE.COM Jan 14 2020 06:03:00       Dpt Ed/Nav,    Po Box 9655,
                 Wilkes Barre, PA 18773-9655
18577506       +E-mail/Text: bknoticing@grantweber.com Jan 14 2020 01:09:42        Grant & Weber,
                 26610 W Agoura Rd Ste 209,    Calabasas, CA 91302-2975
18577507       +E-mail/Text: kathleen.cenci@providence.org Jan 14 2020 01:10:29
                 Health Service Asset Management,    2201 Lind Ave SW,    Renton, WA 98057-3323
18577508        EDI: IRS.COM Jan 14 2020 06:04:00      Internal Revenue Service,     1999 Broadway,
                 Denver, CO 80202
18577517       +E-mail/Text: BANKRUPTCY@SCHOOLSFIRSTFCU.ORG Jan 14 2020 01:10:07
                 Schools First Federal Credit Union,     PO Box 11547,   Santa Ana, CA 92711-1547
18578808       +EDI: RMSC.COM Jan 14 2020 06:04:00       Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
18577523       +E-mail/Text: lgilbert@westsiderecovery.com Jan 14 2020 01:09:36        Westside Recovery Svcs,
                 4444 W Riverside Dr Ste,    Burbank, CA 91505-4048
                                                                                                TOTAL: 18

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
18577509*        Internal Revenue Service,    Centralized Insolvency Operation,   PO Box 7346,
                  Philadelphia, PA 19101-7346
                                                                                               TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 177                       Total Noticed: 40


              ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 15, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 13, 2020 at the address(es) listed below:
              Harvey Sender    harveysender1@sendertrustee.com,
               hsender@ecf.axosfs.com;SPierce@sendertrustee.com
              Matt McCune    on behalf of Debtor Lauren Margaret-McLennan Gaitan matt@mccunelegal.com,
               berenice@mccunelegal.com,charles@mccunelegal.com,3718@notices.nextchapterbk.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1
                       Lauren Margaret−McLennan Gaitan                             Social Security number or ITIN   xxx−xx−2589
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of Colorado

Case number:          19−18361−EEB


Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Lauren Margaret−McLennan Gaitan
             dba Lauren Gaitan, fka Lauren Margaret
             McLennan

                                                                           By the court: Elizabeth E. Brown
             1/13/20                                                                     United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                      For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
